Case 1-19-46591-jmm   Doc 296   Filed 09/02/22   Entered 09/02/22 09:46:48
Case 1-19-46591-jmm   Doc 296   Filed 09/02/22   Entered 09/02/22 09:46:48
Case 1-19-46591-jmm   Doc 296   Filed 09/02/22   Entered 09/02/22 09:46:48
Case 1-19-46591-jmm   Doc 296   Filed 09/02/22   Entered 09/02/22 09:46:48
Case 1-19-46591-jmm   Doc 296   Filed 09/02/22   Entered 09/02/22 09:46:48
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